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                       TIN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 ANA DAVIS,                                         :
                                                    :       Civil Action No. 3:23-cv-00046-KC
         Plaintiff,                                 :
                                                    :
 v.                                                 :
                                                    :
 SUPREME LABOR SOURCE, LLC, et al.,                 :
                                                    :
         Defendants.                                :

      DEFENDANT WYOMING NATIONAL LOGISTICS, LLC’S MEMORANDUM IN
              OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL

I.      INTRODUCTION

        Plaintiff’s Motion to Compel (the “Motion”, ECF No. 48) is wholly without foundation or

merit. On a motion to compel, “[a] general argument that all, or even most, of the defendant’s

discovery responses are deficient is not sufficient. Such an argument requires the court, in effect,

to make the plaintiffs’ arguments for them.” Harrison v. Wells Fargo Bank, N.A., No. 3:13-CV-

4682-D, 2016 WL 1392332, at *6 (N.D. Tex. Apr. 8, 2016) (quoting Bishop v. May & Young

Hotel, L.L.C., No. Civ. A. 10-124-BAJ, 2011 WL 4436750, at *1-*2 (M.D. La. Sept. 8, 2011)).

This is exactly what Plaintiff’s Motion has done.

        Although Plaintiff attached to her Motion Defendants Supreme Labor Source, LLC

(“Supreme”) and Wyoming National Logistics, LLC’s (“WY National”) objections and responses

to Plaintiff’s interrogatories and requests for production, (ECF No. 48-5, 48-6 and ECF Nos. 48-

7, 48-8, respectively), Plaintiff fails to identify in any respect to which of those 50 interrogatories

or 113 requests for production WY National (or Supreme) did not adequately respond. Instead,

Plaintiff makes a blanket assertion that Defendants’ discovery responses are deficient and asks this
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Court to do her job by comparing the laundry list of documents she includes in her Motion with

her discovery requests. The Court has no such obligation and should decline to do so.

       Worse, Plaintiff’s Motion requests that this Court compel Defendants to produce

documents that Plaintiff has never requested under Fed. R. Civ. P. 33 or 34. Plaintiff cannot

circumvent the Federal Rules of Civil Procedure by serving Defendants with completely new

requests under the guise of a discovery deficiency letter a day before the close of discovery.

       Equally troubling is Plaintiff’s counsel’s representation to this Court that she attempted to

confer in good faith with counsel for Defendants to resolve the purported deficiencies with

Defendants’ responses before filing this motion. Plaintiff’s counsel made no such attempt. As the

exhibits attached to this response show, which Plaintiff's counsel conveniently failed to attach or

even detail to the Court, Plaintiff’s counsel gave WY National four business hours1 to produce 30

categories of documents—most of which she had never requested before—under the threat of a

motion to compel. There was no attempt to confer with Defendants’ counsel. Rather, Plaintiff’s

counsel issued an ultimatum with an arbitrary and unreasonable deadline on the eve of the close

of discovery. This sort of gamesmanship is antithetical to Rule 37’s requirement to “in good faith”

confer or attempt to confer before seeking intervention from the Court.

       The Court should deny Plaintiff’s Motion in its entirety and award WY National its fees

and expenses under Fed. R. Civ. P. 37(a)(5)(B) for having to respond to Plaintiff’s substantially

unjustified motion, which may have been avoided altogether had Plaintiff’s counsel attempted to

confer with Defendants’ counsel in good faith.




1
  Four hours is an over-estimation of the time given to respond since that number is based on the
fact that counsel for WY National is in the Eastern Time Zone and two hours ahead of Plaintiff,
who is in the Mountain Time Zone. WY National, however, is in the Pacific Time Zone, which
means that it only had one business hour to comply.


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II.    RELEVANT BACKGROUND

       The Court’s original scheduling order, entered April 12, 2023, set the initial discovery

deadline as October 12, 2023. (ECF No. 22). That deadline was extended to January 10, 2024 in

light of both Defendants’ then-pending motions to dismiss.2 (ECF No. 27, p. 1). Thereafter,

Plaintiff propounded 25 interrogatories and 56 requests for production on WY National on

September 14 and September 13, 2023, respectively. WY National served its responses and

objections on October 27, 2023. (See ECF Nos. 48-7, p. 16; 48-8, p. 27). To date, WY National

has produced 1,613 pages of documents, as well as 193 Excel spreadsheet files in native format.

And Supreme, which WY National contends is Plaintiff’s actual employer, has produced more

than 2,000 pages of documents.

       With the discovery deadline looming, the parties jointly petitioned the Court to extend the

discovery deadline to March 11, 2024 to allow the parties to attempt to resolve the matter through

mediation before undertaking the time and expense of depositions. The Court granted the request

(ECF No. 41), and mediation took place on February 20, 2024, but was unsuccessful.

       Defendants took Plaintiff’s deposition on Tuesday, March 5, 2024, and Plaintiff took the

depositions of Defendants’ respective corporate representatives and five fact witnesses on

Wednesday, March 6 and Thursday, March 7, 2024. Then, on Friday, March 8, 2024 at 8:56 PM

EST, Plaintiff’s counsel emailed WY National’s counsel and Supreme’s counsel a purported

discovery deficiency letter (attached as Exhibit 1). Like Plaintiff’s Motion, Plaintiff’s deficiency

letter failed to identify the specific interrogatories or requests for production to which she

contended Defendants’ responses were inadequate and even failed to delineate in any respect




2
 Plaintiff objected to Defendants’ motion even though she had served no discovery at the time
and did not file a response to the motion. (See ECF Nos. 26, p. 4; ECF No. 27, p. 1).


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which documents she was requesting from WY National and which she was requesting from

Supreme. Instead, Plaintiff listed 30 general categories of documents, many of which Plaintiff

requested for the first time in the letter. (Ex. 1).

        Counsel for WY National and counsel for Supreme responded accordingly on Monday,

March 11, 2024 via email (attached as Exhibit 2). In particular, counsel for WY National wrote:

        We are in receipt of your discovery deficiency letter, which you sent at 8:56 p.m.
        EST on Friday, March 8, 2024 and demanded the defendants produce a large
        number of documents by 12 p.m. EST on Monday, March 11, 2024 with the threat
        of filing a motion to compel should defendants not comply. As counsel for Supreme
        Labor stated to you this morning, the majority of the documents you have requested
        in your letter have not been previously requested by you, and, thus, cannot be
        requested through a discovery deficiency letter, particularly one with an arbitrary
        and unreasonable deadline. You essentially gave us (WY National’s counsel) four
        business hours to comply. As new document requests, you are required to provide
        us 30 days to respond under FRCP 34, though, as counsel for Supreme pointed out,
        fact discovery closes today and, consequently, your new RFPs are improper.
        Additionally, many of the documents you have requested are overbroad and wholly
        irrelevant to the claims and defenses in this matter. Others are so vague that we are
        unable to discern what documents you are requesting or from whom you are
        requesting those documents. Finally, WY National has already produced several of
        the documents you request – e.g., Reports regarding plaintiff – see Bates
        WYN0000707-716; Code of Conduct – see Bates WYN0000056-73; Plaintiff’s
        “employee file” – see Bates WYN0000055, 707-716; Plaintiff’s attendance – see
        Bates WYN0000084, 652, 666, 705-706.

(Ex. 2, p. 2). Counsel for WY National concluded by informing Plaintiff that, despite the

impropriety of her requests, WY National would search for 6 categories of documents3 and offered

“to schedule a meet and confer” with Plaintiff’s counsel that week to discuss further. (Id.).

        Plaintiff’s counsel, holding firm in her position, responded at 12:50 PM EST that

“numerous documents […] were requested in Plaintiff’s discovery requests and were not




3
 As of the filing of this response, WY National has supplemented its document production with
documents responsive to these categories, further showing, as argued in Section IV(C) infra, that
Plaintiff’s filing her Motion to Compel was not substantially justified. All Plaintiff’s counsel
needed to do was meet and confer—instead, she prematurely filed the Motion to Compel.


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objectionable.” (Id. at p. 1). Notably, Plaintiff did not identify these “numerous documents[.]”

(Id.). Plaintiff’s counsel then alleged that counsel for WY National had already “acquiesce[d]” and

agreed to produce these “numerous documents,” which she claims were identified by WY

National’s witnesses during depositions. (Id.). The undersigned made no such agreement.

       Less than half an hour later, Plaintiff filed her Motion to Compel. (ECF No. 48). Plaintiff’s

Motion lists the same 30 vague and confusing categories of documents, many of which are unclear

as to which Defendant they are directed, and many of which are wholly irrelevant and/or have not

been requested via a Rule 33 or 34 request. (Id. at p. 2-3). Plaintiff’s Motion further claims

Defendants’ responses are “outstanding and overdue” even though Plaintiff never formally

requested many of the documents. In so stating, Plaintiff’s Motion attempts to usurp the 30 days

provided for by Rules 33 and 34 for Defendants to respond to such requests. And if Plaintiff

believes WY National’s objections or responses to Plaintiff’s actual discovery requests are

improper or insufficient, neither her letter nor her Motion make that clear.

III.   MOTION TO COMPEL STANDARD

       “The party moving to compel production bears the burden of showing clearly that the

requested discovery is within the scope of Rule 26.” Walters v. Certegy Check Servs., Inc., No. A-

17-CV-1100-SS, 2019 WL 573012, at *2 (W.D. Tex. Feb. 12, 2019) (emphasis added). Thus,

“[f]irst, ‘the burden lies with the moving party to show clearly that the information sought is

relevant[.]’” Haas Outdoors, Inc. v. Dryshod Int’l, LLC, No. 1:18-CV-596-RP, 2019 WL

13159727, at *1 (W.D. Tex. Sept. 17, 2019) (quoting Exp. Worldwide, Ltd. v. Knight, 241 F.R.D.

259, 263 (W.D. Tex. 2006)); Mascorro v. Westwood Inn LLC, No. SA-23-CV-00505-JKP, 2023

WL 6429869, at *1 (W.D. Tex. Oct. 2, 2023). “Then, the party resisting discovery must ‘show




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specifically how each discovery request is not relevant or otherwise objectionable.’” Id. (quoting

Patterson v. Def. POW/MIA Accounting Agency, 343 F. Supp. 3d 637, 655 (W.D. Tex. 2018)).

IV.    PLAINTIFF’S MOTION TO COMPEL SHOULD BE DENIED

       A.      Plaintiff has not identified an interrogatory or request for production to which
               her Motion to Compel is addressed.

       The Federal Rules of Civil Procedure permit a party to move to compel a discovery

response when an opposing party “fails to answer an interrogatory submitted under Rule 33” or

“produce documents […] requested under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B)(iii),(iv).

Inherently, a motion to compel must clearly set forth specific allegedly insufficient discovery

responses. See Walters, 2019 WL 573012, at *2 (citing Exp. Worldwide, Ltd. v. Knight, 241 F.R.D.

259, 263 (W.D. Tex. 2006) (“The burden lies with the moving party to show clearly that the

information sought is relevant to the case and would lead to admissible evidence.”).

       For this reason, a motion to compel which vaguely asks for production of documents or

information without specifying a particular request to which the motion is addressed is insufficient.

Bishop v. May & Young Hotel, L.L.C., 2011 WL 4436750 at *2 (M.D. La. Sept. 8, 2011) (denying

a motion to compel which failed to identify a single discovery request to which the motion was

related). As the Bishop court noted, a general motion to compel that does not identify with any

clarity insufficient discovery responses “requires the court, in effect, to make the plaintiffs’

arguments for them.” Bishop, 2011 WL 4436750 at *2.

       Similarly, in Harrison v. Wells Fargo Bank, N.A., No. 3:13-CV-4682-D, 2016 WL

1392332 (N.D. Tex. Apr. 8, 2016), the Court, in denying the plaintiff’s motion to compel (“MTC”),

explained, “[a]s [d]efendant correctly notes, [p]laintiff’s MTC does not identify the specific Rule

34 requests at issue or discuss further how [d]efendant’s responses and document productions are




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deficient” and, like here, “[p]laintiff's counsel’s email communications with [d]efendant’s counsel

in the day before filing the MTC did not do so either.” Id. at *6.

       Here, Plaintiff’s Motion to Compel plainly fails to identify a single interrogatory or request

for production for which WY National’s responses were allegedly inadequate or to which the

motion to compel relates. Rather, Plaintiff confusingly and incorrectly asserts that she “requested

information in her Interrogatory requests and documentation in her Requests for Production

regarding the following relevant information,” referring to each of the 30 vague categories

identified in her Motion to Compel and directed to both Defendants. (ECF No. 48, p. 1-2).

       Plaintiff’s spurious attempt to summarily conclude that each of her 30 requested categories

of documents and information falls within the scope of her previous discovery requests is not only

insufficient, but wrong, and it places the burden on WY National, Supreme, and this Court to do

Plaintiff’s job for her. See Bishop, 2011 WL 4436750 at *2-3. In short, Defendants are left to

prepare their response and perhaps attend a hearing before the Court playing a game of “blind

man’s bluff.” That is not the purpose of Rule 37, and the Motion should be denied as a result.

       Plaintiff’s failure to identify any allegedly insufficient discovery responses is also

problematic given that WY National asserted a number of objections to many of Plaintiff’s

discovery requests, a great portion of which are based on the simple fact that WY National was

not Plaintiff’s employer. Yet, because Plaintiff has not tied her Motion to Compel to any particular

requests, the Court—and the two separate Defendants—are not able to determine which of the

objections asserted by either of the Defendants in their responses to Plaintiff’s requests might apply

to the discovery sought in Plaintiff’s Motion to Compel.

       WY National does not dispute that when properly challenged, WY National would bear

the burden of defending its objections. Indeed, “the party resisting discovery must show




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specifically how each discovery request at issue is not relevant or otherwise objectionable, and

an objecting party must, in response to a motion to compel, urge and argue in support of his

objection to a request, or the objection will be waived or deemed abandoned.” Harrison, 2016 WL

1392332, at *6 (emphasis added). But here, Plaintiff expects the Defendants to build a wall on no

foundation. Plaintiff has not met her initial burden to identify any allegedly improper discovery

objections or inadequate discovery responses. Simply put, “more is still required of a party moving

to compel under Rule 37(a) than Plaintiff provides through [her] MTC.” Id.

       In short, Plaintiff’s Motion to Compel is insufficiently briefed and presented for the Court

to grant the relief sought without any basis or even a modicum of proof of any violation of the

discovery rules. For these reasons, the Court should deny Plaintiff’s Motion to Compel.

       B.       Plaintiff’s Motion to Compel seeks production of documents that were not
                requested in discovery and/or which have already been produced.

       Even if Plaintiff’s Motion did identify a single insufficient response to a specific discovery

request—which it does not—Plaintiff’s Motion is still improper because it identifies categories of

documents that have never been requested from WY National under Rules 33 or 34. “It is

axiomatic that a court may not compel the production of documents under Rule 37 unless the party

seeking such an order has served a proper discovery request on the opposing party.” Harrison,

2016 WL 1392332, at *6 (quoting SJB Grp., LLC v. TBE Grp., Inc., No. Civ. A. 12-181-SDD,

2013 WL 2928214, at *3 (M.D. La. June 13, 2013)).

       Specifically, here, Plaintiff has never served WY National with interrogatories or a request

for production regarding the following 21 categories listed in her Motion: 1, 2, 3, 4, 5, 6, 7, 8, 9,

10, 11, 12, 13, 14, 15, 16, 22, 24, 25, 26, 30.4 In short, the majority of Plaintiff’s Motion to Compel



4
 WY National has produced items that reference Plaintiff within these categories even if it was
not specifically requested. For example, Plaintiff has never requested the production of all incident


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asks the Court to compel information or documents not previously requested properly under the

rules. This cannot form the basis for a motion to compel. See Fed. R. Civ. P. 37(a)(3)(B).

       Notwithstanding the fact that Plaintiff’s Motion to Compel identifies categories of

information or documents that have not been requested by a proper Rule 33 interrogatory or Rule

34 request, WY National has produced documents responsive to the remaining 9 categories listed

in Plaintiff’s Motion to Compel: 17 and 18 (WYN0000707-716); 19 and 28 (WYN0000084, 652,

666, 705-706, 1589); 20 (WYN00001587, 1599, 1605, 1609, 1613); 21 (WYN0000777-1581); 23

(WYN0000055, 707-716, 739-758); 27 (WYN0000056-73); and 29 (WYN0000707, 712-716).

       As illustrated above, Plaintiff has moved the Court to compel responses to non-existent

discovery requests, or which have otherwise been produced by Defendants. Consistently, Plaintiff

does not provide any analysis or discussion of the Defendants’ voluminous document productions

(which would reveal Defendants have complied with Plaintiff’s actual requests), nor does Plaintiff

explain the basis for her superficial belief that she is entitled to documents that have not been

properly requested, let alone adduce any indication that particular document(s) have been

improperly withheld. In short, Plaintiff, without explanation and without evidence, has wasted the

Court’s time and resources by filing this unjustified Motion to Compel, which must be denied.

       C.      Plaintiff did not comply with Rule 37 before filing this Motion, and Plaintiff’s
               Motion to Compel was not substantially justified.

       WY National must raise a final point in response to Plaintiff’s Motion. “The Federal Rules

of Civil Procedure provide necessary boundaries and requirements for formal discovery” and

“[p]arties must comply with such requirements in order to resort to the provisions of Rule 37.”




reports from Fort Bliss (#15). Putting aside the relevancy of that request related to Fort Bliss as a
whole, WY National produced the sole incident report related to Plaintiff. See Bates
WYN0000707.


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Harrison, 2016 WL 1392332, at *6 (quoting SJB Grp., LLC, 2013 WL 2928214, at *3). Plaintiff’s

counsel did not do so, which is yet another reason Plaintiff’s Motion is simply not justifiable. As

previously noted, a day after the parties completed depositions—and in the late evening (8:56 p.m.

EST) on the Friday night before the discovery deadline on the following Monday—Plaintiff sent

her discovery deficiency letter to WY National and Supreme, arbitrarily giving them four and three

business hours, respectively, to comply or face a motion to compel. After counsel for both

Defendants separately responded to Plaintiff’s counsel on Monday morning, pointing out the flaws

in Plaintiff’s letter and offering to discuss further, Plaintiff’s counsel filed this Motion less than

half an hour after rejecting Defendants’ offer and position. (See Ex. 2).

       Despite Plaintiff’s counsel’s “Certificate of Conference” to the contrary (ECF No. 48, p.

6), this exchange recants any assertion that Plaintiff attempted in good faith attempt to confer with

Defendants before filing this Motion. See Harrison, ECF No. 104 (June 13, 2016) (ordering an

award of $12,000 to the defendant under Fed. R. Civ. P. 37(a)(5)(B) for expenses in defending

against plaintiff’s MTC); Crow v. ProPetro Servs., Inc., No. MO15CV00149RAJDC, 2016 WL

9776368, at *9 (W.D. Tex. June 6, 2016) (“Plaintiff’s single letter […] unilaterally identifying

flaws in Defendant’s discovery responses and setting an arbitrary response deadline for Defendant

is inadequate and does not equate to a good faith conferral[.]”); Lowe v. State Farm Fire & Cas.

Co., No. CV 22-95-JWD-SDJ, 2022 WL 4180950, at *1 (M.D. La. Aug. 16, 2022) (“This brief

email exchange is not sufficient to meet the requirements of Rule 37.”).

       Accordingly, the Court should deny Plaintiff’s Motion to Compel and, like in Harrison,

require Plaintiff or Plaintiff’s counsel to pay WY National its reasonable expenses incurred in

opposing the Motion, including attorney’s fees, under Fed. R. Civ. P. 37(a)(5)(B) and grant WY

National any other relief the Court deems proper.




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                               Respectfully submitted:

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                               CERTIFICATE OF SERVICE

       I certify that on March 18, 2024, the foregoing Defendant Wyoming National Logistics,

LLC’s Memorandum in Opposition to Plaintiff’s Motion to Compel was electronically filed using

the Court’s CM/ECF system and was automatically served to all counsel of record.


                                               /s/ Jill K. Bigler
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